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                                 ANNEX B

                     Debtor’s Corporate Structure Chart
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                  Organizational Structure of LTL Management LLC




                                      Johnson & Johnson




                                          Janssen
                                     Pharmaceuticals, Inc.




                                      Johnson & Johnson
                 Other Direct
                                       Holdco (NA) Inc.
                 Subsidiaries
                                            (NJ)



           LTL Management LLC          Other Direct and
                  (NC)               Indirect Subsidiaries




                Royalty A&M LLC
                       (NC)




Key
       Debtor
       Non-Debtor
